                     Case 20-13246-LMI       Doc 46    Filed 01/11/21    Page 1 of 3
                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


                                                                       CASE NO.: 20-13246-BKC-LMI
INRE:
                                                                    PROCEEDING UNDERCHAPTER 13
KEVIN ROB GONZALEZ
CHRISTINE ABBIOLA CHARLES

DEBTORS                            I

                           TRUSTEE'S MOTION TO DISMISS AND
                     CERTIFICATE OF SERVICE OF NOTICE OF HEARING


   COMES NOW Nancy K. Neidich, Standing Chapter 13 Trustee, and files her Motion to Dismiss
pursuant to 11 U.S.C. Section 1307(c) for the reasons set forth below:

   1. Material change prejudicial to creditors in payment terms resulting from unscheduled, unlisted, or
      improperly listed tax or other claims.

   2. The Trustee faxed to the counsel of record a letter requesting the issue be addressed. See attached
      letter with fax confirmation.

   WHEREFORE, the Trustee requests the case be dismissed for failure to address the issue stated therein.


   I CERTIFY that a true and correct copy of the foregoing Trustee's Motion to Dismiss and Notice of
Hearing was mailed to those parties listed below on JtcNIJftfl.Y u , t-o1..I


                                                           NANCY K. NEIDICH, ESQUIRE
                                                           STANDING CHAPTER 13 TRUSTEE
                                                           P.O. BOX 27~,0
                                                           MIRAM , F 33 27



                                                           o Ke iaMEl' a, Esq.
                                                                 ORID BAR NO: 0085156
                                                           o 2'\my C rrington, Esq.
                                                             FLORIDA BAR NO: 101877
                                                           ~Jose Ignacio Miceli, Esq.
                                                              FLORIDA BAR NO: 0077539
               Case 20-13246-LMI   Doc 46   Filed 01/11/21   Page 2 of 3
                                        NOTICE OF HEARING AND TRUSTEE'S MOTION TO DISMISS
                                                                CASE NO.: 20-13246-BKC-LMI

                            CERTIFICATE OF SERVICE

COPIES FURNISHED TO:

NANCY K. NEIDICH
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

By Mail:
DEBTORS
KEVIN ROB GONZALEZ
CHRISTINE ABBIOLA CHARLES
240 NW25TH ST
# 723
MIAMI, FL 33127-4330

Via Electronic Service:
ATTORNEY FOR DEBTORS
JOSE PAGAN, ESQUIRE
1 NE2NDAVE
SUITE 200
MIAMI, FL 33132-2532
                               Case 20-13246-LMI            Doc 46        Filed 01/11/21          Page 3 of 3
12/10/2-02.0 THU -15;..(}.4      --- FAX 9                                            CH13MIAMI FAX

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                                                         *** FAX TX REPORT ***
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           OFFICE OF THE CHAPTER 13 STANDING TRUSTEE
           SOUTHE&\f DISTRlCT OF FLORIDA
                                                                                                           -
                                                                                       NANCY K. 1\'HDICH, ESQUJRE
                                                                                       STANDING CHAPTER 13 TRUSTEE
                                                                                       P.O. BOX 279806
                                                                                       ?vURAMA.R . FL 33027-9806
                                                                                       TELEPHONE: (954) 443-4402
                                                                                       FACSL\1ILE: (954) 443-4452


           December 10, 2020

           JOSE PAGAN, ESQUIRE
           J NE2NDAVE
           SUITE200
           ML-'\.i.\:fL FL 33132-2532
           Case: 20-13246-BKC-LMI                               RE: KEVL."l ROB GONZALEZ
                                                                    CHRISTINE ABBJOLA
                                                                    CHARLES

           Dear JOSE PAGAN, ESQUIRE


           More tbm thirty dnys have passed since the claims bar date on June 12. 2020. '{ou hove faikd to file tbe Notice
           of Compliance by Attorney for Debtor required hy Local Rule 2083-1 (B) Claims Review Requirement, also
           .know as Local Form 76.

           The scope of the revii:w n:quired states: "Not later thnn 21 days after expiration of the clnims bar date. the
           attorney shnll exmnine, from reoords maintained by tbe clerk, the daims register and nll daims fikd in rhe case
           to detennine whether additional action is necessary, including the filing and service in acoordance with all
           applicable rules of: (a) an amended plan if the plan has not been confirmed; (b) a motion to modify the
           confirmed plan; (c) obje(·tiom; to nonconforming claims.'' Local Rule 2083-1 (BH l)

           '{ou must file a Lot:-a1 Fmm 76 within t\'-'enty (20) days of this letter or tht: Trustee mny   file a l\fotion to Dismiss
           this case

           Very truly yours,


           Claims Administrntor
